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Dec. 11 . 2009 1 :12PY                                                                    No, 2100 P . 5


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                                                                                                    Ct,VATTv
                               IN THE SUPERIOR COURT OF COBB COU NTY
                                         S TATE OF GEORGIA
                                                                                          09('«
        JIMMY BAXTER PUR CE L L, a s executor                                                     Y -9 A141 [ : 5 7
        of the Estat e of LUC Y PURCELL, Deceased,

                                   Plaintiff

                   VS   .                                      CfVIL ACTION NO. :

       SUNRISE SENIOR LIVING, INC .,                            vej -c41 1 f b 7 --4~}
       SUNRI SE SENIOR LIVING SERVICES, INC.,
       ELEVEN PACK MANAGEMENT COR-P .
       and B1U Gr3'T ON GARD ENS OF VININGS

                                   Defendants
                                                                1 *1 I   +'     i            f

                                                                                M-' . .

                                                C OMPL AIN T

               COMES NOW JIMMY BAXTER PURCELL as Executor of the Estate of LUCY

       PURCELL, Deceased, and files his Complaint against SUNRISE SENIOR LIVING,

       INC ., SUNRISE SENIOR LIVING SERVICES, INC ., SUNRISE SENIOR LIVING,

       ELEVEN PACK MANAGEMENT CORP, and BRIGHTON GARDENS OF VTNINGS .

       In support thereof Plaintiff states as follows :

                                       PARTIES AND JURISDICTION

               1 . Plaintiff, JIMMY BAXTER PURCELL, is a resident of the State of

      Florida and is LUCY PURCELL's son and brings this action in his capacity as Executor

      of the Estate of LUCY PURCELL, Deceased .

              2.            LUCY PURCELL, deceased, passed away on July 13, 2009 .

              3.            Plaintiff, JIMMY BAXTER PURCELL, was duly appointed as the

      Executor of the Estate of LUCY PURCELL on September 30,2009 .

              4 . Defendant, SUNRISE SENIOR LIVING, INC ., is a For Profit Foreign

      Corporation with the address of 7902 Westpark Drive, McLean, Virginia, 22102 which is

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                                                                                 No .   Z J 0 U P,   6



 subject to the jurisdiction and venue of thi s Court. Service of process may b e perfected

 upon its Reg i stered Agent, THE CORPORATION TRUST COMPANY , Corporation

 Trust Center, 1209 Ora n ge Street, W ilmington, Delaware, 19801 .

        S. Defendant, SUNRISE SENIOR LIVING SERVICES, INC ., is a For Profit

 Foreign Corporation with t he address of 7902 Westpark Drive, McLean, Virginia,

 22102, which is subj ect to the jurisdiction and venue of this Court . Service o f process


may be perfected upon its Registered Agent, Corporation Process Company, 328

Alexander Street, Suite tp, Marietta GA 30060,                                                           ',

        6. Defendant, ELEVEN PACK MA NAGEMENT CORP ., is a For Profit

Foreign Corporation with the address of 1440 Hwy Al A, Very Beach, FL 32963, which

is subject to the jurisdiction and venue of this Court . Service of process may be perfected

upon its Registered Agent, C T Corporation System, 1201 FPeachtree Street, NE, Atlanta,

GA 30361 .

        7 . Defendant, BRIGHTON GARDENS OF VIKINGS, is the Resident Care

Home/Assisted Living Facility located at 2401 Cumberland Parkway, SE, Atlanta, GA

30339, which is subject to the jurisdiction and venue of this Court . Service of process

may be perfected upon Dennis Stamey, Administrator/Manager at 2401 Cumberland

Pazk-way, SE, Atlanta, GA 30339-

       S.      During the time frat~r~e relevant to the issues in this case, Defendants

owned, operated, controlled, managed, was licensee, made pe r sonne l decisions, and/or

employed the personnel at BRIGHTON GARDENS OF VININGS .

       9, This action is an actio n for damages in excess of Ten Thou sand Dollars




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              10. Venue is proper in t h e Superior Court of Cobb County since the caus es o f           '

      action accrued in whole or in part in Cobb County and Defendants' transact business in

      and/or reside in Cobb County .

                                                FACTS

              1 1 . LUCY M . PURCELL was initially admitted to BRIGHTON GARDE NS

      OF VININGS on or about March 19 " ', 2007 .

              12 . BRIGHTON GARDENS OF VININ G S is a Personal Care Home and also

      known as an Assisted Living Facility .

              13 . During all relevant times, LUCY M . PURCELL was a resident of and in

      the care and custody of BRIGHTON GARDENS OF VFNTNGS's staff .

              14.    LUCY M. PURCELL pa id or on LUCY M . PURCELL ' s behalf, payments

      were made for the care, services and supervision of BRIGHTON GARDENS OF

      VININGS and its staff.

             15 . While a resident of BRIGHTON GARDENS OF V ININGS, LUCY M .

     PURCELL fell on September 3, 2007 sustaining a traumatic subdural hematorna.

             16 .    Defendants and Defendants' staff failed to ensure that adequate

     supervision, assistance and safety precautions were taken to ensure the safety of LUCY

     M . PURCELL .

                         CO UNT I - NE GLIGENCE -- ES TAT E CLAIM

             17 . Plaintiff incorporates by reference as if fully set forth every al l egation set

     forth in Paragraphs 1 to 1 6 above .

             18 . Defendants had full legal authority and responsibility for the operation of

     BRIGHTON GARDENS OF VININGS during all relevant times of LUCY M.

     PURCELL's residency there .


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              19 .    Defendant s owed a n o n- delegable dut y t o LUCY M . PURCELL to             'i

      exercise reasonable care while she was a resident at BRIGHTON GARDENS OF

      VINITTGS.

              20 . Defendants are liable for the negligence of any BRIGHTON GARDENS

      OF VININGS staff and/pr Defendants' employees based on the theory of respondeat

      superior, agency or apparent agency .

              21 . Defendants and/or Defendants' employees negligently cared for L UCY M .

      PURCELL by failing to exercise reasonable care :

                      a. to ensure that LUCY M . PURCELL had a reasonably safe living
                            environment ;
                      b. to provide reasonable supervision of LUCY M . PURCELL;
                      c . to provide reasonable supervision of the staff responsible for
                              providing direct care for LUCY M. PURCELL ;
                      d . to ensure that the employees providing care or supervising those
                              providing care to LUCY M . PURCELL were competent ; and
                      e. to provide reasonable fall precautions and interventions .

              22. As a direct and proximate result of the negligence of Defendants and/or

      Defendants' employees, LUCY M . PURCELL sustained severe injuries of the mind and

      body, pain and suffering, and the necessary cost of medical care .

              23 . Plaintiff is entitled to recover all damages, which the jury determines to be

      proper including damages for LUCY M . PURCELL's pain and suffering and medical

      expenses .

               COUNT 11 - PROFESSIONAL NEGLIGENCE -- ESTATE CLAIM

              24 . Plaintiff incorpozates by reference as if fully set forth every allegation set

      forth in Paragraphs I to 23 above.

             25 . Defendants arid Defendant BRIGHTON GA RDENS OF VTNINGS, and

      the staff of BRIGHTON GARDENS OF VIKINGS, were negligent and failed to exercise
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         the standard of care and skill ordinarily employed by personal care homes, assisted living

         facilities, nursing assistants and other employees and agents providing care and services

         under the same or similar conditions in their care and treatment of LUCY M. PURCELL .

                26 . Defendants and Defendant BRIGHTON GARDENS OF VININGS and

         the staff of BRIGHTON GARDENS OF VININGS's negligence includes those negligent

         acts and/or omissions set forth in the Affidavit of Suellyn D . Hunt, R,N_, which is filed

         with this Complaint pursuant to the requirements of O .C .G .A . § 9-11-9 .1 . This Affidavit

        is incorporated into this Complaint as Exhibit "A " .

                2 7 . As a direct and proximate result of the negligence of Defendants and/or

        Defendants' employees/agents, LUCY M . PURCELL sustained severe injuries of the

        mind and body, pain and suffering, the necessary cost of medical care .

                28 . JIMMY BAXTER PURCELL as executor of the Estate of LUCY

        PURCELL, Deceased is entitled to recover all damages, which the jury determines to be

        proper including damages for LUCY M . PURCELL's pain and suffering and medical

        expenses .

                                COUNT III -,BREACH OF CONTPIACT

                29 . Plaintiff incorporates by reference as if fully set forth every allegation set

        forth in Paragraphs I to 28 above .

                30 . Defendants owed a contractual duty of care and protection to its resident

        LUCY M . PURCELL .

                31 . Defendants received valuable consideration from LUCY M. PURCELL or

        on her behalf as part of their agreement to provide her with adequate care, services and

        supervision .

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              32 . Defendants breached their contractual duty to care and protect LUCY M .

       PURCELL in that Defendants, Defendant BRIGHTON GARDENS OF VININGS and

       their staff failed to take reasonable precautions and preventive measures to provide or

       LUCY M . PURCELL's safety.

              3 3 . As a result of the above referenced Defendants' breach of contract,

        .[ICY M . PURCL•LL's sustained serious injuries of the mind and body, pain and

       suffering and medical expenses .

              34. WHEREFORE, Plaintiff prays for the following :

                      a . that Summons be issued and served upon the Defendants as
                              provided by law ;
                      b . that all issues herein be tried before a jury ;
                      c . that the Plaintiff has judgment entered in his favor against each of
                              the Defendants, jointly and severally in an amount in excess of
                              $ 10,000 for all damages recoverable by law ;
                      d, that all costs of this action be cast against the Defendants ; and
                      c . that Plaintiff has such other relief as is just and proper .

                                                            Respect y Submitted,



                                                           Eric
                                                                           6-
                                                                  . Millcs, Esq .
                                                           GA Bar # 5089 8 2
                                                           GARVIN & MILLES
                                                           1582 Village Square Blvd .
                                                           Tallahassee, FL 32309
                                                           (850) 422-3400 (telephone)
                                                           (850) 906A878 {facsl-Mile)




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 .' Dec . 11 . 2009 1 :13FN                                            No . 25GC',                          P. ?1
~~ .


                                   AFFI AA,      OF SUELLI'N ri . HUN'S', R,N.

            STATE OF GEORGIA
            COUNTY OF Le0_

                    Before me the undasigned authority this day personally appeared Suellyn D .

            Hunt, RN . who being first duly swom under oath, deposes and says :

                    1 } That I am over the age of twenty-one (21) years, competent to make this

            Affidavit~ and with personal knowledge of the facts and opinions contained herein .

                   2) I am a Registered Nurse licensed in the State of Georgia, I have devoted

            professional time during the 3 years immediately preceding the date of the occurrence

            that is the basis of this davit to the active clinical practice of, or consulting with

            respect to, nursing . By reason of my active clinical practice, I have knowledge of the

           applicable standard of care for nurses, or other medical support staff:

                   3) 1 have personally reviewed the following medical records pertaining to

           Lucy Purcell :

                       a) Sunrise Senior Living Center

                       b) WellStar Kenuestone Hospital

                   4) Lucy Purcell was admitted to Sunrise Senior Living Center on March 19,

           2007. On July 24, 2007, Ms . Parcel] fell and Sunrise Senior Living Center and its staff

           failed to take reasonable fall prevention precautions . On September 3, 2007, due, to

           inadequate fall precautions, Ms . Purcell suffered a serious fa11 that resulted in a traumatic

           subdural hematomx, hospitalization, surgical intervention, and pain and suffering .

                  5)        It is my medical opinion based upon the afore-stated documents, as well as

           my education, training and experience that Sunrise Senior Living Center and its' staff



                                                                                                       EXHIBIT


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De c . 11 . 2009 1 :13PV                        vo . 2500 F .                                               13   t
             '       IN THE SUPERIOR COURT OF COBB COUNTY
                                STATE OF GEORGIA

     JIMMY BAXTER PURCELL, as Executor
     of the Estate of LUCY P URCEL L , Deceased,

                              Plaintiff

              vs .                                          CIVIL ACTION NO.;

     SUNRISE SENIOR LIVING, INC.,
     SUNRISE SENIOR LIVING SERVICES, INC .,
     SUNRISE SENIOR LIVIN G MANAGEMENT, INC .,
     ELEVEN PACK MANAGEMENT CORP .
     and BRIGHTON GARDENS OF VININGS

                              Defendants
                                                                  1

                                     O.C .G.A.   9-11-9,2 AUTHORIZATION

             COMES NOW Plaintiff in the above-styled action, submits this Authorization pursuant to

     O.C. G.A . § 9-11-9 .2

             1, JIM B . PURCELL, hereby authorize the attorney representing SUNRISE SENIOR

     CARE to obtain and disclose protected health information contained in medical records to

     facilitate the investigation, evaluation, and defense of the claims and allegations set forth in the

     Complaint, which pertain to LUCY PURCELL. This authorization includes said defense

     attorney's n-glit to discuss the care and treatment of LC 1CY PURCELL witti a)1 of LUCY

     P URCELL' S treating physicians .

            This auibpri•ratxon provides for the release of all protected health information except

     information that is considered privileged and authorizes the release of such information to said

     defense attorney by any physician or health care facility by which health care records of LUCY

     PURC F I.I, acre maintained .

             I request that you notify my attorney, Eric K . M11I e5, Esq ., GARVIN & MILLES, 1582

     Village Square Boulevard, Tallahassee, FL, 32309, (850) 422-3400, in the event you provide the

     protected health information to anyone . I also request that you notify my attorney of any request ~

                                                                                             I       EXHIBIT         i
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    by defense counsel for you to meet with defense counsel to discuss any protected health

    information and further request that my attorney be allowed to attend any such meeiing.

           Dated this -"-day of ~~                 2009.
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   Dec . 1 1, 2009 1 .13FV                                                           No . 25CU P . 12




                     deviated from the acceptable and appropriate standard of care in its care and treatment of

                     Lucy Purceli during her residency in the following respects :

                             a) Failure to initiate and maintain appropriate fall precautions to prevent injury ;

                             b) Failure to implement and update an appropriate plan of cane to prevent falls ; and

                             c) Failure to appropriately document fall incidents.

                             6) It is my opinion that the above failures and/or omissions demonstrated

                     'breaches of the prevailing professional standards of care by the health care providers at

                     Sunrise Senior Living Center .

                             7)     I further state, that to the best of my knowledge, I hav e never had any

                 opinions disqualified in any administrative forum, court of law, or other proceedings, nor

                 have I ever been disqualified as an expert witness. I have never been found guilty of

                 fraud or pe~Jury in any jurisdiction,


                                                                           s ueilyn D . H    R .rr.




                            The forgoing Affidavit was acknowledged before me, an officer dul y authorized

                            fate and County aforesaid, to take acknowledgements, this ~~day of

                                   2009, by Suellyn D. Zuni, R .N ., who is personally known to me.
                          . .~

%.~ y ~Ffi
      ~~ p
  V~O
    ffIltit l Illl

                     L~Ro
                Printed Name
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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JIMMY BAXTER PURCELL, as Executor
of the Estate of LUCY PURCELL,
Deceased,

       Plaintiff

       V.                                            CIVIL ACTION
                                                     FILE NO .
SUNRISE SENIOR LIVING, INC .,
SUNRISE SENIOR LIVING SERVICES,
INC ., ELEVEN PACK MANAGEMENT
                                                             (Y3-GV35
                                                             0-3-
CORP . and BRIGHTON GARDENS OF
VININGS




                        TYPE LIMITATIONS CERTIFICATION

       Pursuant to Local Rule 7 .1 (d), the undersigned hereby certifies that PETITION

FOR REMOVAL has been prepared in Times New Roman (14 point), as required by

Local Rule 5 .1 (b) .




                        ****SIGNATURE ON NEXT PAGE****
     Case 1:09-cv-03557-JEC Document 1-1 Filed 12/17/09 Page 12 of 12




                      4-
      This, the day of December 2009 .

                                      HAWKINS & PARNELL, LLP




                                        avid C-.raf shall
                                      Sta o .471512
                                      Christian J . Lang
                                      Georgia Bar No . 435437
                                      Counsel for Defendants

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